Case 2:20-cv-17871-CCC-AME Document 28 Filed 09/29/21 Page 1 of 2 PageID: 180
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                                       September 29, 2021


 VIA ECF
 Honorable André M. Espinosa
 United States District Court
 District of New Jersey
 Martin Luther King, Jr. Courthouse
 50 Walnut Street
 Room 2037, Courtroom 2D
 Newark, NJ 07102

         RE: Dotcom Distribution Corp. v.
             Travelers Property Casualty Company of America and
             The Phoenix Insurance Company
             No. 2:20-cv-17871


Dear Judge Espinosa:

       The parties jointly submit this letter in the above-referenced matter concerning the
discovery dispute deadline.

        Per the Scheduling Order [ECF No. 15], “[a]ny unresolved discovery disputes (other than
those that arise during depositions) must be brought before the Court no later than October 1,
2021 and the Court will not entertain applications concerning discovery matters, informally or
otherwise, after this date.”

       The Court recently extended the fact discovery deadline to January 1, 2022. See Court’s
Order dated September 22, 2021 [ECF No. 27]. We write to the Court to confirm that the
October 1, 2021 deadline is extended in accordance with the Court’s recent order.




8531527 v1
Case 2:20-cv-17871-CCC-AME Document 28 Filed 09/29/21 Page 2 of 2 PageID: 181

Honorable André M. Espinosa
September 29, 2021
Page 2


         The parties agree to extend the discovery dispute deadline to December 1, 2021.


                                                   Respectfully submitted,

                                                   FLASTER/GREENBERG P.C.



                                                   By: /s/ Arthur R. Armstrong______________
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                                                   FINAZZO COSSOLINI O’LEARY
                                                   MEOLA & HAGER, LLC


                                                   By: /s/ Adam A. Alster ___________________
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8531527 v1
